IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

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(fllll name) (Register No). )
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) Case No.
Plainti&(s). )
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f ‘. § h ) 0 '31 C' 'tY
o _ 3 ) L/§E;: apacl
Defenda.nt(s)

_C_OI\¢[PLAINT UNDER THE CIVIL RIGHTS ACT OF 42 U.S.C. § 1983

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1990 A/ Bhnn LII_Q} §lor-Mj?'F-€€M , /V\O, p'(<r§§§@ §
]I. Parties to this civil action:
lese give your commitment name and any another name(s)' you have used while
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A- Plamflff:nmma§ Q D<x\/ h 5 # mrs RegisterNo.

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_El

V]I.

Do' your claims involve medical treatment? Yes X; No

Do you request a jury trial? Yes g No _m__
Do you request money damages? Yes x No
State the amount claimed? $ wolf Q‘P@/@Mctual/punitive)

Are the wrongs alleged in your complaint continuing to occur? Yes g No ___

Grievance procedures:

B. Have the claims in this
procedure within the instituti

 

 

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D. If you have not filed a giievance, state the reasons.
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Previous civil actions:
A. Have you begun other cases in state or federal courts dealing Wit;héhe Same facts involved
in this case? ‘ . Yes No '

B. Have you begun other cases in state or federal courts negating to the conditions of or
Yes

treatment while incarcerated? . No

 

,C. If your answer is “Yes,” to either of the above questions, provide the following

information for each case.
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( ) il (Plaintif£) q (Defendant)
2 Date ed: z_€’> f
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(4) Case Number and citation: \_'> ab \<'.A w V\>
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(6) Date ofdisposition: Z¢:D \ (o `6`

(7) Disposition: MLQ
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din ppeal
(8) If resolved, state wge§m fci (on a ) (resolved) \ 'Q \ 4
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Statement'ofclaim:

 

 

 

 

 

 

 

B . `
_ State briefly your legal theory or cite appropriate authority:

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Case 6:18-cV-03252-I\/|DH Document 1 Filed 08/08/18 Page 3 of 10

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Case 6:18-cV-03252-I\/|DH D§Cur?:ent¢ Filed 08/08/18 Page 8 of 10
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X. Relief: State briefly exactly what you want the court to do for you.r Make no legal arguments
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B. Have you made any effort to contact a private lawyer to determine if he or she would
represent you in this civil action? Yes No

 

 

If your answer is “Yes,” state the names(s) and address(es) of each lawyer contacted.

 

 

 

 

 

 

C. _ Have` you previously had a lawyer representing you in a civil action in this co ?
Yes , " No § »-

If your answer is “Yes,” state the name and address of the lawyer.

 

I declare under penalty of perjury that the foregoing is true and correct.

 

 

Executed (signed) this 30 day or ? ` . 20 _l`_ g
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Case 6'18-cV-03252-I\/|DH Document 1 Filed 08/08/18 Page 9 of 10

 

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